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          11
                                             UNITED STATES DISTRICT COURT
          12
                                         NORTHERN DISTRICT OF CALIFORNIA
          13

          14
               WHATSAPP INC., a Delaware corporation,        Case No. 4:19-cv-07123-PJH
          15   and FACEBOOK, INC., a Delaware
               corporation,                                  WHATSAPP’S REQUEST FOR JUDICIAL
          16                                                 NOTICE IN SUPPORT OF MOTION TO
                                                             DISQUALIFY DEFENSE COUNSEL BASED
          17                   Plaintiffs,                   ON PRIOR REPRESENTATION IN A
                                                             SEALED MATTER
          18         v.
                                                             Date:      May 20, 2020
          19   NSO GROUP TECHNOLOGIES LIMITED                Time:      9:00 a.m.
               and Q CYBER TECHNOLOGIES LIMITED,             Courtroom: 3, 3rd Floor
          20                                                 Judge:     Hon. Phyllis J. Hamilton
                               Defendants.
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          23                               REDACTED VERSION OF
          24                           DOCUMENT SOUGHT TO BE SEALED

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ATTO RN                                                  1           WHATSAPP’S REQUEST FOR JUDICIAL NOTICE
 SAN F                                                                           CASE NO. 4:19-CV-07123-PJH
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